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14                             UNITED STATES DISTRICT COURT
15                          NORTHERN DISTRICT OF CALIFORNIA
16                                  SAN FRANCISCO DIVISION
17   SALOOJAS, INC.,                                     Case No.: 3:22-cv-02887-JSC
18
            Plaintiff,
                                                         [PROPOSED ORDER] GRANTING
19                                                       DEFENDANT AETNA HEALTH OF
                                                         CALIFORNIA, INC.’S MOTION TO
20          v.                                           DISMISS COMPLAINT AND MOTION TO
                                                         STRIKE CLASS ACTION ALLEGATIONS
21
     AETNA HEALTH OF CALIFORNIA, INC.,                   Judge: Hon. Jacqueline Scott Corley
22                                                       Date: September 29, 2022
                                                         Time: 9:00 a.m.
23                                                       Ctrm: 8
            Defendant.
24                                                       Complaint Filed:     May 16, 2022
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                                        [PROPOSED ORDER] GRANTING MOTION TO DISMISS COMPLAINT AND
                                                        MOTION TO STRIKE CLASS ACTION ALLEGATIONS
                                                                            Case No.: 3:22-cv-02887-JSC
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 1                                                ORDER

 2          Defendant Aetna Health of California, Inc. filed its Motion to Dismiss Complaint and Motion

 3   to Strike Class Action Allegations. Having considered all of the papers filed in connection with the

 4   Motion and the oral arguments by counsel thereon, the Court issues the following Order:

 5          IT IS HEREBY ORDERED that Defendant’s Motion to Dismiss and Motion to Strike Class

 6   Action Allegations is GRANTED in its entirety and Plaintiff’s Complaint is dismissed with prejudice.

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 9   DATED: _______________                                 _____________________________________
                                                            Jacqueline Scott Corley
10                                                          United States District Judge
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                                           [PROPOSED ORDER] GRANTING MOTION TO DISMISS COMPLAINT AND
                                                           MOTION TO STRIKE CLASS ACTION ALLEGATIONS
                                                                               Case No.: 3:22-cv-02887-JSC
